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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                   4:15CR3114
       vs.
                                                                      ORDER
YULIO CERVINO-HERNANDEZ, AND
ALEXANDER CASTELLANO-BENITEZ,

                      Defendants.


       Defendant Alexander Castellano-Benitez has moved to continue the pretrial motion
deadline and trial setting, (filing nos. 37 and 38), because the defendant is awaiting additional
discovery from the government and needs to review that discovery before deciding if pretrial
motions should be filed. The motion to continue is unopposed. Based on the showing set forth
in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant Alexander Castellano-Benitez’s motions to continue, (filing nos. 37
              and 38), are granted.

       2)     As to both defendants, pretrial motions and briefs shall be filed on or before
              January 7, 2016.

       3)     As to both defendants, trial of this case is continued pending resolution of any
              pretrial motions filed.

       4)     The ends of justice served by granting the motion to continue outweigh the
              interests of the public and the defendant in a speedy trial, and as to both
              defendants, the additional time arising as a result of the granting of the motion,
              the time between today’s date and January 7, 2016, shall be deemed excludable
              time in any computation of time under the requirements of the Speedy Trial Act,
              because despite counsel’s due diligence, additional time is needed to adequately
              prepare this case for trial and failing to grant additional time might result in a
              miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

       December 3, 2015.
                                                    BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
